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luck
[8/9/21, 10:02:39 PM] Keith Z Berman Cell: All in all the government case is
falling apart but we still did not bring up the conspiracy which is so clear now
[8/9/21, 10:03:40 PM] Keith Z Berman Cell: Everyone acts the same way when things
they think are important don't work their way
[8/9/21, 10:04:48 PM] Keith Z Berman Cell: I still think      that if you have such
strong opinions, come in and take over
[8/9/21, 10:05:05 PM] Keith Z Berman Cell: Corporations are democracies
[8/9/21, 10:05:46 PM]            Keith, why do you seem angry at      ?
[8/9/21, 10:06:07 PM] Keith Z Berman Cell: I am not angry
[8/9/21, 10:06:35 PM] Keith Z Berman Cell: But he stopped being an investor and has
become a shareholder
[8/9/21, 10:07:05 PM]                : 1. I don't run company's . 2. I wouldn't
start by running one that is being destroyed by multiple factors
[8/9/21, 10:07:34 PM]                : And how did I become that Keith
[8/9/21, 10:07:41 PM] Keith Z Berman Cell: Why not? It is the perfect opportunity
to be a hero
[8/9/21, 10:08:26 PM]          : I read what he wrote. I believe he was just
supporting you. You're goal was always to bring the product to mkt.
[8/9/21, 10:08:34 PM] Keith Z Berman Cell: Because for over 2 weeks you have been
trying to push me into doing things I do not have the resources to fo
[8/9/21, 10:08:44 PM]                : I have a job. Oh, you know . The one that
exposes myself and family to serious disease. Oh , the one that's going through my
department right now
[8/9/21, 10:09:14 PM]                : The disease that can be helped with the test
I'm invested in
[8/9/21, 10:09:19 PM] Keith Z Berman Cell: And my office and even my house
[8/9/21, 10:10:10 PM] Keith Z Berman Cell: The company is out of money and I am not
going to help any more
[8/9/21, 10:10:36 PM] Keith Z Berman Cell: I have invested my family's inheritance
[8/9/21, 10:10:57 PM]                  is why I am confused. You have always wanted
this to come to mkt and always said that it could save so many lives! Nothing has
changed
[8/9/21, 10:11:13 PM]                : That's your choice. You have to take care of
yourself before anyone else
[8/9/21, 10:12:16 PM]                : Name one thing I have tried to push you to
do?
[8/9/21, 10:14:25 PM] Keith Z Berman Cell: Spent it all and am still looking at 10
years
[8/9/21, 10:14:25 PM] Keith Z Berman Cell: At least now I do not have to draw to an
inside straight
[8/9/21, 10:14:26 PM] Keith Z Berman Cell: The government is showing it's hand
[8/9/21, 10:14:27 PM] Keith Z Berman Cell: But if the company goes under then the
bio goes under and the bio testifies against me
[8/9/21, 10:14:53 PM] Keith Z Berman Cell: Wrong
[8/9/21, 10:15:02 PM] Keith Z Berman Cell: Subtle changes
[8/9/21, 10:15:32 PM] Keith Z Berman Cell: You asked earlier why I have been quiet
[8/9/21, 10:15:37 PM] Keith Z Berman Cell: That's why
[8/9/21, 10:16:25 PM] Keith Z Berman Cell: And I will be quiet again
[8/9/21, 10:16:26 PM] Keith Z Berman Cell: Beginning now
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[8/17/21, 5:40:01 PM] Keith Z Berman Cell: Raise the money
[8/17/21, 5:40:16 PM] Keith Z Berman Cell: Change pedima terns
[8/17/21, 5:41:04 PM] Keith Z Berman Cell: Pay me back the 900kbi have put into the
company all but 130k since december 2019
[8/17/21, 5:41:18 PM] Keith Z Berman Cell: And work it yourself
[8/17/21, 5:41:31 PM] Keith Z Berman Cell: You would be a hero
[8/17/21, 6:03:41 PM]             This is all news to me. I thought you and shep
are supposed to figure out next steps on fri
[8/17/21, 6:04:15 PM]                 : I think you have done a great job. I
certainly can't run it
[8/17/21, 6:05:28 PM]             Keith‐Did Shep actually say he was looking to
replace you?
[8/17/21, 6:06:08 PM]          : 👍
[8/17/21, 6:36:24 PM] Keith Z Berman Cell: Yes he did
[8/17/21, 6:36:59 PM] Keith Z Berman Cell: Then he backed off and said he was
looking for influential people to help me
[8/17/21, 6:37:10 PM] Keith Z Berman Cell: I didn't believe him
[8/17/21, 6:37:33 PM] Keith Z Berman Cell: So I asked him who authorized him to do
this
[8/17/21, 6:38:07 PM] Keith Z Berman Cell: He said he talked with       and      had
ideas
[8/17/21, 6:38:21 PM] Keith Z Berman Cell: So shep called the lawyer
[8/17/21, 6:39:24 PM] Keith Z Berman Cell: You know, everyone who comes into
contact with this company thinks their answer, whatever it is becomes the right
answer
[8/17/21, 6:40:32 PM] Keith Z Berman Cell: There was a guy yesterday on the elite
Facebook board who said bullshit u need to get my priorities correct, I have to
learn what is important
[8/17/21, 6:41:02 PM] Keith Z Berman Cell: And today your          posted really bad
stuff on ihub
[8/17/21, 6:49:38 PM]                 : I only look for ideas because he Kerr's
saying you're closing the doors
[8/17/21, 6:50:46 PM]                 : And I respond" why would he do that without
trying to sell"
[8/17/21, 6:50:58 PM] Keith Z Berman Cell: When the money is gone I have no choice
[8/17/21, 6:51:55 PM] Keith Z Berman Cell: I will not sell. The entire company is
worth 3.5 million.
[8/17/21, 6:52:57 PM] Keith Z Berman Cell: We owe more than 3.5 million
[8/17/21, 6:53:19 PM] Keith Z Berman Cell: It is almost 7pm in nyc
[8/17/21, 6:53:37 PM] Keith Z Berman Cell: I could sell the company by 7.15
[8/17/21, 7:01:59 PM]             Are you trying to say you could sell it easily but
you don't want to?
[8/17/21, 7:02:52 PM] Keith Z Berman Cell:       told me he had written off his
investment. He said everyone had
[8/17/21, 7:03:05 PM] Keith Z Berman Cell: Well I have not
[8/17/21, 7:03:31 PM] Keith Z Berman Cell: But like I say, public companies are
democracies
[8/17/21, 7:03:46 PM]           : I have never sold
[8/17/21, 7:04:12 PM] Keith Z Berman Cell: If someone knows better they should come
in and run the place
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